                                                                              Case 2:18-cv-00169-RFB-BNW Document 133
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                                                                            TREVOR J. HATFIELD, ESQ
                                                                          1 Nevada Bar No. 7373
                                                                          2 HATFIELD & ASSOCIATES, LTD.
                                                                            703 S. Eighth Street
                                                                          3 Las Vegas, Nevada 89101
                                                                            Telephone: (702) 388-4469
                                                                          4 Facsimile: (702) 386-9825
                                                                          5 Email: thatfield@hatfieldlawassociates.com
                                                                          6 Attorney for Plaintiff In conjunction with Legal Aid Center of
                                                                            Southern Nevada Pro Bono Project
                                                                          7
                                                                          8                                UNITED STATES DISTRICT COURT
                                                                          9                                     DISTRICT OF NEVADA
                                                                         10
                                                                                                                               CASE NO: 2:18-cv-00169-RFB-BNW
                                                                         11    TERRELL DESHON KEMP, SR.,
HATFIELD & ASSOCIATES, LTD.
                              703 8th Street * Las Vegas, Nevada 89101




                                                                         12                   Plaintiff,
                                                                                                                                PLAINTIFF’S COUNSEL’S MOTION TO
                                      Telephone (702) 388-4469




                                                                         13           vs.                                          WITHDRAW AS COUNSEL FOR
                                                                                                                                            PLAINTIFF
                                                                         14
                                                                               LAS VEGAS METROPOLITAN POLICE
                                                                         15    DEPARTMENT, et al.,
                                                                         16                   Defendants.
                                                                         17          The undersigned counsel hereby moves to Withdraw as Counsel for Plaintiff. This motion
                                                                         18
                                                                              is made and based upon the Memorandum of Points and Authorities submitted herein, the
                                                                         19
                                                                              Declaration of Trevor J. Hatfield, Esq., attached hereto, the pleadings and papers on file and any
                                                                         20
                                                                         21 argument adduced at the hearing of this Motion to Withdraw as Counsel for Plaintiff.
                                                                         22          Dated this 22nd day of June 2022.            HATFIELD & ASSOCIATES, LTD.

                                                                         23                                                       By:    /s/ Trevor J. Hatfield
                                                                         24                                                       Trevor J. Hatfield, Esq. (SBN 7373)
                                                                                                                                  703 South Eighth Street
                                                                         25                                                       Las Vegas, Nevada 89101
                                                                         26                                                       Attorney for Plaintiff In Conjunction with
                                                                                                                                  Legal Aid Center of Southern Nevada Pro
                                                                         27                                                       Bono Project
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                                                                          1                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                          2                                                                 I.
                                                                                     Local Rule IA 11-06 (a) allows for an attorney to withdraw with leave of court after
                                                                          3
                                                                          4 notice of the intent to withdraw is served. Counsel has discussed withdrawing from representing
                                                                          5 his client, Plaintiff, and is seeking withdrawal by motion. Local Rule IA 11-06 (e) provides that,
                                                                          6
                                                                              except for good cause, withdrawal will not be granted if a delay in discovery, the trial or any
                                                                          7
                                                                              hearing will result.
                                                                          8
                                                                                     Here, Counsel believes that there will be no delay, as discovery has closed, and there is
                                                                          9
                                                                         10 no pending pretrial deadlines or trial setting. Attached is the Declaration of Counsel setting forth
                                                                         11 that in his belief it is in the best interests of Counsel and Plaintiff that Counsel’s motion be
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                              703 8th Street * Las Vegas, Nevada 89101




                                                                         12
                                                                              granted.
                                      Telephone (702) 388-4469




                                                                         13
                                                                                     As Plaintiff is incarcerated, Plaintiff shall be served by United States mail, pursuant to
                                                                         14
                                                                              Local Rule IA 11-06 (b) and the opposing counsel in this case will receive notice of this motion
                                                                         15
                                                                         16 via the CM/ECF system
                                                                         17 Dated this 22nd day of June, 2022.                                   HATFIELD & ASSOCIATES LTD.
                                                                         18                  ORDER
                                                                                IT IS ORDERED that ECF No. 132 is               By:     Trevor J. Hatfield
                                                                         19                                                     Trevor J. Hatfield, Esq. (SBN 7373)
                                                                                GRANTED.
                                                                                                                                703    South Eighth Street
                                                                         20                                                     Las Vegas, Nevada 89101
                                                                                IT IS FURTHER ORDERED that the Clerk of
                                                                                                                                (702) 388-4469 Tel
                                                                         21     Court is kindly directed to update Plaintiff's  Attorney for Plaintiff In Conjunction with
                                                                                address consistent with this order. IT IS       Legal Aid Center of Southern Nevada Pro
                                                                         22     FURTHER ORDERED that, by 7/1/2022,              Bono Project
                                                                         23     Plaintiff's counsel must certify that he served
                                                                                a copy of this Court's order on Plaintiff.
                                                                         24
                                                                         25     IT IS FURTHER ORDERED that the Clerk of
                                                                                Court shall forward a copy of this order to
                                                                         26     the Pro Bono Liaison so that this case may
                                                                                be re-added to the list of cases needing pro
                                                                         27     bono counsel.
                                                                         28                          IT IS SO ORDERED
                                                                                                     DATED: 4:08 pm, June 23, 2022



                                                                                                     BRENDA WEKSLER
                                                                                                     UNITED STATES MAGISTRATE JUDGE

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                                                                          1                      DECLARATION OF TREVOR J. HATFIELD, ESQ.
                                                                          2
                                                                                     TREVOR J. HATFIELD, ESQ., being first duly sworn deposes and says:
                                                                          3
                                                                                     1.      I am an attorney licensed to practice law in all courts in the State of Nevada. I
                                                                          4
                                                                          5 have personal knowledge of the facts set forth below, and I believe them to be true.
                                                                          6          2.     Counsel has represented dozens of pro bono clients over twenty years of practice
                                                                          7 but has never believed withdrawal was compelled in a pro bono case until this case. Counsel has
                                                                          8
                                                                            discussed withdrawing from representing his client due to a perceived conflict. The basis for this
                                                                          9
                                                                            motion is that Counsel believes that he has an actual conflict with Plaintiff and the conflict
                                                                         10
                                                                         11 cannot be reconciled.
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                              703 8th Street * Las Vegas, Nevada 89101




                                                                         12          3.     Plaintiff will be informed by Counsel of Counsel’s intent to withdraw from
                                      Telephone (702) 388-4469




                                                                         13 representing Plaintiff, in that Plaintiff shall be served by United States mail, and the opposing
                                                                         14
                                                                            counsel in this case will receive notice of this motion vial the CM/ECF system.
                                                                         15
                                                                                   4.       Plaintiff’s last known address is:
                                                                         16
                                                                         17                 Terrell Deshon Kemp, Sr., #67713
                                                                                            S.D.C.C.
                                                                         18                 P.O. Box 208
                                                                                            Indian Springs, Nevada 89070
                                                                         19
                                                                         20          FURTHER THIS DECLARANT SAYETH NAUGHT.

                                                                         21 Dated: June 22, 2022
                                                                         22                                                        /s/ Trevor J. Hatfield
                                                                         23
                                                                                                                                TREVOR J. HATFIELD, ESQ.
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                                                                                                           CERTIFICATE OF SERVICE
                                                                          1
                                                                          2         I certify that on June 22, 2022, I electronically filed the foregoing PLAINTIFF’S

                                                                          3 COUNSEL’S MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF with the Clerk
                                                                          4 of the Court using the ECF system which served the parties hereto electronically.
                                                                          5
                                                                            Dated: June 22, 2022.                      By:             /s/ Freda P. Brazier
                                                                          6                                            An Employee of Hatfield & Associates, Ltd.
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                                                                          8
                                                                          9
                                                                         10
                                                                         11
HATFIELD & ASSOCIATES, LTD.
                              703 8th Street * Las Vegas, Nevada 89101




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                                      Telephone (702) 388-4469




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